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UNITED STATES DlSTRlCT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

nrth GILLMORE, individually ana on ease NO. 3 \"l-Qv » ?-CXOLt - T- \ri m'°fp
behalf ol`all others similarly situated_.
Cl.ASS ACTI()N COMPl.AlNT
Pla."ntg`f}._` '
DEMAND FOR .IURY TRIAL

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LOKEY AUTOMO'I`IVE GROUP. lNC. dr'hfa
LOKEY VOLKSWAGEN,

 

Defe ndr:mr.

 

CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintil"i"April Gillmore brings this Class Aetion Complaint and Demand t`or .lury 'I`rial
against l)et`endant l.ol-te_v Automotive Group. Ine. d;’bfa Lokey Volks\vagen (°`Lokey"` or
“Def"endant") to stop its practice ol`sending unsolicited text messages to cellular telephones
without the reeipient`s consent and to obtain redress l`or all persons injured by its conduct.
including injunctive reliei`. Plaintil"l" alleges as i"ollows upon personal knowledge as to herself
and her own acts and experiences and. as to all other matters, upon information and beliet`.
including investigation conducted by her attorneys

NATURE OF THE ACTION

l. Del`endant Lokey is a company in Florida that sells automobiles and automobile
repair services

2. 'l`o promote its business and attract new customers. Lol\'e_v sent unsolicited text
message advertisements to consumers in l"`lorida-with whom it had no prior relationship with
\vhatsoever_eneouraging them to schedule an appointment to repair their vehicles at its
dealership.

3. Lokey sent the text message advertisements at issue en massch using an automated

telephone dialng system ("'A'I`I`)S"") to a list ol` cell phone numbers it purchased from a third
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party.

4. Plaintiff Gillmore, like the other members of the putative class, never agreed or
consented to receive autodialed promotional text messages from Lokey (or the third party from
which Lokey purchased their cell phone numbers), and has no relationship with either company.

5. Lokey’s practice of sending promotional text messages to the cell phones of
Plaintit`f and the C|ass_without their prior express consent_violates the Telephone Consumer
Protection Act, 47 U.S.C. § 227 (“TCPA”).

6. 'l`he TCPA was enacted to protect consumers t`rom unsolicited telephone and text
message calls exactly like the ones alleged in this case. By sending the unsolicited text messages
at issue to the personal cell phones ol` Plaintift` and the Class, Lokey violated their privacy and
statutory rights, and caused them to suffer actual harm, including the aggravation, nuisance, and
invasions of privacy that necessarily accompanies the receipt of unsolicited text messages

7. ln response to Lokey’s unlawful conduct, Plaintit`t` filed this action seeking an
injunction requiring Lokey to cease all unsolicited text messaging activities, as well as an award
of statutory damages to the members of the Class as provided under the TCPA, together with

costs and reasonable attorneys’ fees.

PARTIES
8. Plaintiff Gillmore is a natural person and resident of the State of Florida.
9. Det`endant Lokey is a corporation organized and existing under the laws of the

State of Florida with its principal place of business located at 27850 US Highway 19 North,
Clearwater, Florida 33 761 .
JURISDlCTlON AND VENUE
lO. This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as the action

arises under the TCPA, which is a federal statute. This Court has personal jurisdiction over

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Defendant because it conducts a significant amount of business in this District, solicits
consumers in this District, sent and continues to send unsolicited text messages in this District,
and because the wrongful conduct giving rise to this case occurred in, was directed to, and/or
emanated from this District.

l l. Venue is proper in this District under 28 U.S.C. § l39l(b) because Defendant
conducts a significant amount of business within this District and markets to this District, and
because the wrongful conduct giving rise to this case occurred in and/or was directed to this
District. Venue is additionally proper because both Defendant and Plaintif`t` reside in this District.

COMMON FACTUAL ALLEGATIONS

12. ln recent years, some companies have turned to unsolicited text messaging as a
low-cost way to market to new customers

l3. To assist with its text messaging campaign, Det`endant hired Recall Masters, lnc.
(“Recall Masters") to provide it with the lists of potential customers in the area who have
unperforrned automobile recalls from the year 2000 or later. Specifically, Recall Masters
provided Defendant with the names and cell phone numbers of potential customers, along with
the make, model, and year of their vehicles.

14. Defendant then uses the cell phone numbers provided by Recall Masters to send
text messages en masse informing the vehicle owners about a supposed recall involving their
particular vehicle and soliciting them to schedule an appointment at the dealership.

15. Defendant intended the text message recipients to respond by scheduling an
appointment at its dealership and paying money for services.

|6. Recall Masters claims that it “leverage[s] more than 40 data sources to identify up
to three times more vehicles with open recalls [and] create[s] opportunities [for companies like

Defendant] to increase sales and services revenue. . . .”

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l"r'. As illustrated in Figure l._ Recall Masters claims that "`[m]ore recalls [equals]

more customers |plus] more protit."

 

lf you are a manager at a Car Dea|ership:

We'l| lind up to Z-i->. more vehicles with recalls than the factory

 

 

 

(Figure l].

Recall Masters goes on to write "comprehensive recall solutions not only establish your dealer as
the community leader in automotive sat`ety. but benei`tt your dealership immensely by connecting
with first time customers_. securing additional customer pay RO revenue. increasing vehicie sales.
winning back lost customers and saving)'improving CSI scorcs."

18. An article recently published online stated that automotive businesses such as
Det`endant`s bcnelit f`rom open recalls because they "‘rcprcsent a unique market opportunity to
grow sales and service rcvenue_ drive up each dealership`s CSI and restore [their] brand`s
integrity in the eyes ot` the consumer."l

l9. A case study done by Recall Masters themselves states that ""[a]l`tcr just t`our
months on the program, Sullivan '[`oyota [a business substantially similar to Del`cndant] realized
over 3384,000 in additional service revenuc_. consisting ot` $30?`, l 04 warranty revenue and

$??_.321 customer pay revenue. And that`s not all - ft otto ser nn additional 81 ver'.'ic!es.”

(emphasis added).2

 

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recall-masters-to-revolutionize-vehicle-repairs (last visited Aug. 2], 2017).
“ Cctse S'mdy: Sufh`vcrn Brr)ther.r - Recoll Master.r, http:ffwww.recallmasters.comr‘case-
study-sullivan-brosiF (last visited Aug. 21_, 201?),

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20. Det`endant knowingly sent (and continues to send) unsolicited telemarketing text
messages without the prior express written consent of the recipients In so doing, Det`endant not
only invaded the personal privacy of Plaintift` and members of the putative Class, but also
intentionally and repeatedly violated the TCPA.

FACTS SPECIFIC TO PLAINTIFF APRIL GILLMORE

2], On .lune 8, 2017 at 1:0] p.m., Gillmore received an unsolicited text message on
her cellular telephone from telephone number (72?) 998-4222 stating, "'Hi April, [y]ou have an
unrepaired recall on your 2003 Jetta. This is the Recall Department at Lokey Volkswagen.
Would you like to learn more, schedule an appointment, or be removed from our recall alert
contact list?” See Figure 2. The telephone number (72?) 998-4222 is owned and!or operated by

Defendant.

 

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|?2?! 998-4222

Hi April, You have an unrepaired
recall on your 2003 Jelta . This is the
Fteca|l Department at Lokeyr
Votkswagen_ Would you like lo learn
more, schedule an appointment, or
be removed lrom our recall alert
contact list?

Bince | nc.'r:" slr;nr_-rt up for your
"recalt alert contact" trst, l ant pretty
sure lt’s illegal to tcr.| nut to the time

ot 5500-51000 per unsolicited ten
So‘ prot_int)|~; rt r_|oeti :rl».‘.a to stop
testing me about n car :l~.:it l list-c-‘t
owned since 2000

 

rcr..;;|tn¢l

l apologize for anyr inconvenience
and will update our records

r‘\r\tt, another t»'.-z|'. L:.it ltr>ad u:) un

 

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tFigure 2).

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22. ln reality, the recall identified in the text message was issued in 2007 (10 years
ago) and was not covered under the car’s warranty. As such, Defendant sent the text message to
Plaintiff with the purpose of soliciting her to schedule an appointment at its dealership and pay
money out of her own pocket to perform repairs to her vehicle.

23. Gillmore has not taken her car to Defendant’s dealership in over 10 years She
does not have a relationship with Defendant, and has never provided her cell phone number to
Defendant or Recall Masters for any reason, let alone for them to market to her using an ATDS.
Simply put, Defendant did not obtain Gillmore’s prior express written consent to send text
message advertisements to her and the parties did not have any previous relationship whatsoever.

24. By sending unauthorized text messages as alleged herein, Defendant caused
Plaintiff and the Class to suffer actual harm in the form of annoyance, nuisance, and invasion of
privacy. ln addition, the text messages disturbed Plaintiff’s and the Class’s use and enjoyment of
their cellular telephones in addition to the wear and tear on the cellular telephone’s hardware
(including the cellular telephone’s battery) and the consumption of memory on their cellular
telephones

25. ln order to redress these injuries, Gillmore, on behalf of herself and a Class of
similarly situated individuals brings suit under the 'I`elephone Consumer Protection Act, 47
U.S.C. § 227, el seq., which prohibits unsolicited voice and text calls to cellular telephones

26. On behalf of the Class, Plaintiff seeks an injunction requiring Defendant to cease
all wireless text-messaging activities and an award of statutory damages to the Class members
together with costs and reasonable attorneys’ fees

CLASS ACTION ALLEGATIONS
27. Class Definition: Plaintiff brings this action pursuant to Federal Rule of Civil

Procedure 23(b)(2) and Rule 23(b)(3) on behalf of herself and a class of similarly situated

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individuals defined as follows:

All persons in the United States (l) to whom Defendant (or a third person acting

on behalf of Defendant) sent one or more text message advertisements, (2) to his

or her cellular telephone phone, (3) between four years prior to the filing of this

complaint through the present (4) without a record demonstrating prior express

written consent to send such text messages
The following individuals are excluded from the Class: (l) any Judge or Magistrate presiding
over this action and members of their families; (2) Defendant, its subsidiaries parents,
successors, predecessors and any entity in which Defendant or its parents have a controlling
interest and their current or fenner employees officers and directors; (3) Plaintiff"s attomeys; (4)
persons who properly execute and file a timely request for exclusion from the Class; (5) the legal
representatives, successors or assigns of any such excluded persons; and (6) persons whose
claims against Defendant has been fully and finally adjudicated and/or released. Plaintiff
anticipates the need to amend the Class definitions following appropriate discovery.

28. Numerosity: The exact sizes of the Class is unknown and not available to
Plaintiff at this time, but it is clear that individual joinder is impracticable On information and
belief, Defendant sent autodialed text messages to thousands of consumers who fall into the
definition of the Class. Members of the Class can be easily identified through Defendant’s or its
agent’s records

29. Commonality and Predominance: There are many questions of law and fact
common to the claims of Plaintiff and the other members of the Class, and those questions
predominate over any questions that may affect individual members of the Class. Common
questions for the Class include, but are not necessarily limited to, the following:

(a) whether Defendant’s conduct constitutes a violation of the TCPA;

(b) whether Defendant utilized an automatic telephone dialing system to send text
messages to members of the Class, as contemplated by the TCPA;

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(c) whether Defendant obtained prior express written consent to contact any class
members; and

(d) whether members of the Class are entitled to treble damages based on the
willfulness of Defendant’s conduct.

30. Typicality: Plaintiff’s claims are typical of the claims of other members of the
Class, in that Plaintiff and the Class members sustained damages arising out of Defendant’s
uniform wrongful conduct and unsolicited text message calls

3l. Adequate Representation: Plaintiff will fairly and adequately represent and
protect the interests of the Class, and has retained counsel competent and experienced in class
actions Neither Plaintiff nor her counsel has any interests antagonistic to those of the Class, and
Defendant has no defenses unique to Plaintiff. Plaintiff and her counsel are committed to
vigorously prosecuting this action on behalf of the members of the Class, and have the financial
resources to do so.

32. Policies Generally Applicable to the Class: This class action is appropriate for
certification because Defendant has acted or refused to act on grounds generally applicable to the
Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible
standards of conduct toward the members of the Class, and making final class-wide injunctive
relief appropriate. Defendant’s business practices apply to and affect the members of the Class
uniforrnly, and Plaintiff s challenge of those practices hinges on Defendant’s conduct with
respect to the Class as a whole, not on facts or law applicable only to Plaintiff.

33. Superiority: This class action is also appropriate for certification because class
proceedings are superior to all other available methods for the fair and efficient adjudication of
this controversy and joinder of all members of the Class is impracticable The damages suffered
by individual members of the Class will likely be small relative to the burden and expense of

individual prosecution of the complex litigation necessitated by Defendant’s wrongful conduct.

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Thus, it would be virtually impossible for the members of the Class to obtain effective relief
from Defendant’s misconduct on an individual basis. A class action provides the benefits of
single adjudication, economies of scale, and comprehensive supervision by a single court.
Economies of time, effort, and expense will be fostered and uniformity of decisions will be
ensured.

FlRST CAUSE OF ACTION

Violation of the Telcphone Consumer Protection Act
47 U.S.C. § 227

§0n Behalf of Plaintiff the Class[

34. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

35. Defendant sent autodialed text messages to cellular telephone numbers belonging
to Plaintiff and other members of the Class without first obtaining their prior express written
consent to receive such autodialed text messages.

36. Defendant sent the text messages using equipment that had the capacity to store or
produce telephone numbers using a random or sequential number generator, to receive and store
lists of phone numbers, and to dial such numbers, en masse, without human intervention The
telephone dialing equipment utilized by Defendant dialed cell phone numbers from a list, or
dialed numbers from a database of telephone numbers, in an automatic and systematic manner.
Defendant’s autodialer disseminated information en masse to Plaintiff and other members of the
putative Class simultaneously and without human intervention.

37. By sending the unsolicited text messages to Plaintiff and other members of the
putative Class without their prior express consent, and by utilizing an automatic telephone
dialing system to make those calls, Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii).

38. As a result of Defendant’s conduct, Plaintiff and the other members of the
putative Class are each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of $500.00 in

damages for each violation of the TCPA.

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39. ln the event that the Court determines that Defendant’s conduct was willful and
knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages
recoverable by Plaintiff and the other members of the putative Class.

40. Additionally, as a result of Defendant’s unlawful conduct, Plaintiff and the other
members of the putative Class are entitled to an injunction under 47 U.S.C. § 227(b)(3)(A) to
ensure that Defendant’s violations of the TCPA do not continue into the future.

PRAYER FOR REL|EF

WHEREFORE, Plaintiff April Gillmore, individually and on behalf of the Class, prays
for the following relief:

l. An order certifying the Class as defined above, appointing Plaintiff Gillmore as

the representatives of the Class, and appointing her counsel as Class Counsel;

2. An award of actual, statutory, and treble damages;
3. An order declaring that Defendant’s actions, as set out above, violate the TCPA;
4. An order declaring that Defendant’s telephone calling equipment constitutes an

automatic telephone dialing system under the TCPA;

5. An order requiring Defendant to disgorge any ill-gotten funds acquired as a result
of its unlawful telephone calling practices;

6. An order requiring Defendant to identify any third-party involved in the
autodialed calling as set out above, as well as the terms of any contract or compensation
arrangement it has with such third parties;

7. An injunction requiring Defendant to cease all unsolicited text-messaging
activities, and enjoining the Defendant from using, or contracting the use of, an automated or
computerized dialing system to place text message calls without consent;

8. An award of reasonable attorneys’ fees and costs to be paid out of the common

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fund; and

9. Such other and further relief that the Court deems reasonable andjust.

JURY DEMAND

Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: August 23, 2017

Respectfully Submitted,

APRIL GILLMORE, individually and on behalf
of a Class of similarly situated individuals

By: 6

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*Pro Hac Vice admission lo be sought

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